      Case 4:02-cr-00198-JMM        Document 230       Filed 06/26/09     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                         CASE NO. 4:02cr00198-02 JMM

RYAN LYNN McKINNEY


                                          ORDER

       Defendant appeared this date for a hearing on the motions to revoke supervised

release (DE’s #217 & 219).

       Defendant denied that he committed another crime by furnishing an implement for

escape as stated in the motion to revoke filed June 2, 2009 (DE #219). However, he

admitted that he committed another crime of Introduction of a Prohibited Article into a

prison facility. Specifically, he admitted that he had cigarettes in his vehicle parked near

the prison facility so that an unnamed person could retrieve the cigarettes in order to sell

in the prison facility. Defendant also admitted that he failed to provide monthly supervision

reports to the United States Probation Officer for the months of February and March, 2009

as stated in the motion to revoke filed May 4, 2009 (DE #217).

       Accordingly, the motions to revoke supervised release are granted based on

Defendant’s admission that he failed to submit truthful and complete written reports and

failure to refrain from committing another crime.

       IT IS SO ORDERED THIS 26th day of June, 2009.



                                            UNITED STATES DISTRICT JUDGE
